
*1346In re Minos D. Miller, Sr. Trust; Bonner M. Hunter, Trustee; Adele Hunter Trust; Edwin F. Hunter, III Trust; Sara Miller Trust; Colin B. Miller Trust; Miller, Ruth Loyd; Miller, James Vaeour; — Third Party(ies); applying for writ of certiorari and/or review; Parish of East Baton Rouge, 19th Judicial District Court, Div. “I”, No. 291,647; to the Court of Appeal, First Circuit, No. CA93 2155.
Denied.
DENNIS, WATSON and KIMBALL, JJ., would grant the writ.
MARCUS, J., not on panel.
